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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


TERRI D. WRIGHT,

                   Plaintiff,

       v.                                              Case No. 1:20-cv-02471-KBJ

EUGENE & AGNES E. MEYER
FOUNDATION, et al.



                   Defendants.


                           DEFENDANTS’ MOTION TO DISMISS


       Pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure and Local Civil Rule 7

of the United States District Court for the District of Columbia, Defendants Eugene & Agnes E.

Meyer Foundation (“the Foundation”) and Nicola Goren (“Ms. Goren”) (collectively

“Defendants”), through undersigned counsel submit this Motion to Dismiss the Complaint. This

Court must dismiss this action because even taking Plaintiff’s allegations as true (which

Defendants deny) the Section 1981 claim — Plaintiff’s first cause of action — fails because it is

a recast defamation claim, and Plaintiff does not include sufficient facts to make it plausible that

Defendants discriminated against her based upon her race. Ms. Goren allegedly made the

substantive statements underlying Plaintiff’s defamation claim to an individual with a common

interest, and therefore a qualified privilege protects the statement. The alleged statements also

were expressions of opinion and therefore could not be defamatory.
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          In support of this Motion, Defendants rely upon the evidence and legal arguments set forth

in their accompanying Memorandum of Points and Authorities. A proposed order is also attached

hereto.

Dated: September 10, 2020                             Respectfully submitted,

                                                      /s/ Patricia Donkor
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                                                      Patricia Donkor (Bar No. 100455)
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                                                      Attorneys for Defendants




                                  CERTIFICATE OF SERVICE
          I certify that on this 10th day of September 2020, a true and correct copy of the foregoing

document was filed with the Clerk of Court via the CM/ECF system, which caused a copy of the

same to be served upon:

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                                Counsel for Plaintiff



                                                        Patricia B. Donkor
                                                        Patricia B. Donkor




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